Case 1:22-cr-00048-JMS-WRP Boculnent 4) File sed) Page 1of21 PagelD.1

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FILED IN THE

UNITED STATES DISTRICT COURT
MERRICK B. GARLAND DISTRICT OF HAWAII
Attorney General
RANDY S. GROSSMAN JUN 02 oe
United States Attorney ‘oP
MICHAEL G. WHEAT, CBN 118598 at ZA ‘clock and__~min.__M
JOSEPH J.M. ORABONA, CBN 223317 CLERK, U.S. District Court

JANAKI G. CHOPRA, CBN 272246
COLIN M. MCDONALD, CBN 286561
ANDREW Y. CHIANG, NYBN 4765012
Special Attorneys to the Attorney General
United States Attorney’s Office

880 Front Street, Room 6293

San Diego, CA 92101

Tel: 619-546-8437/6695/8817/9144/8756
Email: michael.wheat@usdoj.gov
Attorneys for the United States of America

UNITED STATES DISTRICT COURT

DISTRICT OF HAWAII on J A f ¢
Case No. CR22-00048
UNITED STATES OF AMERICA,
INDICTMENT
Plaintiff,
V. Title 18, U.S.C., Sec. 371 — Conspiracy

to Commit Honest Services Fraud and

KEITH MITSUYOSHI KANESHIRO (1), | Federal Program Bribery; Title 18,
DENNIS KUNIYUKI MITSUNAGA (2), | U.S.C., Sec. 241 — Conspiracy Against
TERRI ANN OTANI (3), Rights

AARON SHUNICHI FUJII (4),
CHAD MICHAEL MCDONALD (5),

Defendants.

The grand jury charges:

INTRODUCTORY ALLEGATIONS

At all times material to this Indictment:
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1. Defendant KEITH MITSUYOSHI KANESHIRO (“KANESHIRO”)
was a public official with, and an agent of, the City and County of Honolulu (the
“City”), a local government entity. In 2010, KANESHIRO was elected in a
special election to serve as the Prosecuting Attorney for the Department of the
Prosecuting Attorney (the “DPA”), an agency within the executive branch of the
City. Among other responsibilities, the DPA was responsible for prosecuting
violations of state criminal law in the District and Circuit Courts of the State of
Hawaii. In 2012 and 2016, KANESHIRO was re-elected as Prosecuting Attorney
for separate four-year terms.

Ze In the calendar years 2012, 2013, 2014, 2015, 2016, and 2017 the City
received benefits in excess of $10,000 under a federal program involving a grant,
contract, subsidy, loan, guarantee, insurance, and other form of federal assistance.

3. Defendant DENNIS KUNIYUKI MITSUNAGA (“MITSUNAGA”),
was the President and Chief Executive Officer of Mitsunaga & Associates, Inc.
(“MAI”), an engineering and architectural firm operating in the State of Hawaii.
MAI’s office was located at 747 Amana, Suite #216, Honolulu, HI 96814. MAT
derived its significant revenue from a combination of public and private jobs
throughout the state of Hawaii.

4, Defendant TERRI ANN OTANI (“OTANI”) was a relative of

MITSUNAGA and the Corporate Secretary and office manager for MAI.
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a Defendant AARON SHUNICHI FUJII (“FUJIT’) was the Executive
Vice President and Chief Operating Officer of MAT.

6. Defendant CHAD MICHAEL MCDONALD (“MCDONALD”) was
an employee at MAI, ultimately becoming a Senior Vice President of MAI.

7. Unindicted Co-Conspirator | (“CC-1”) was an attorney licensed in
Hawaii and California, and MAI’s legal representative in administrative, civil,
and criminal matters.

8. L.J.M. was a resident of Honolulu, Hawaii. In or about 1996, L.J.M.
was hired as a project architect at MAI. In November 2011, on the same day
L.J.M. submitted a letter to MITSUNAGA voicing her disagreement with claims
MITSUNAGA made about her, MAI terminated L.J.M.’s employment without
explanation. Subsequently, MAI, through CC-1, OTANI, FUJII, and others,
contested L.J.M.’s request for unemployment benefits from the State of Hawaii.
After the initial claims reviewer concluded L.J.M. was eligible for
unemployment, MAI appealed that finding to the State of Hawaii’s Employment
Security Appeals Office. After an evidentiary hearing, an Appeals Officer again
found L.J.M. was eligible for unemployment benefits. MAI appealed further to
Hawaii Circuit Court. On or around September 6, 2012, the Circuit Court

affirmed the finding that L.J.M. was eligible for unemployment benefits.
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9, On or about July 17, 2012, FUJII filed a report with the Honolulu Police
Department (“HPD”) alleging that L.J.M. and a local Honolulu attorney, $.M.—
who had filed a lawsuit against MAI earlier in 2012—had committed theft against
MAI. Despite multiple attempts, the assigned HPD Officer was largely
unsuccessful in obtaining follow-up information from FUJII and others at MAI
about the alleged theft.

10. On or about August 20, 2012, following receipt of a right to sue letter
from the U.S. Equal Employment Opportunity Commission, L.J.M. filed a
lawsuit against MAT in the District Court for the District of Hawaii, Civil No. 12-
00468-DKW, alleging, among others, claims under Title VII of the Civil Rights
Act of 1964 and the Age Discrimination in Employment Act of 1967.

11. On or about October 4, 2012, MITSUNAGA and CC-1 met with
KANESHIRO and KANESHIRO’s Executive Assistant (“EA-1”) to attempt to
persuade KANESHIRO to investigate and prosecute L.J.M. In general terms,
MAI’s allegation against L.J.M. was that she committed theft by billing time to
MAI while working unauthorized “side jobs,” and using MAI resources (such as
e-mail and phone) to work the alleged unauthorized “side jobs.”

12. Within several weeks of the October 4, 2012, meeting described in
paragraph 11, and as further set forth below, MITSUNAGA and other co-

conspirators and affiliates began contributing money towards KANESHIRO’s re-
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election campaigns for Honolulu Prosecuting Attorney. Between October 2012
and October 2016, KANESHIRO, MITSUNAGA, OTANI, FUJI,
MCDONALD, and CC-1, along with other MAI employees, affiliates, sub-
contractors, and relatives (collectively the “MAI Donors”) contributed
approximately over $45,000 to Kaneshiro’s re-election campaigns. Prior to the
first contributions reported in October 2012, the MAI Donors had no known
contributions to KANESHIRO.

13. In or about June 2014, a senior-ranking Deputy Prosecuting Attorney
recommended against filing charges against L.J.M.

14. In July 2014, the civil lawsuit between L.J.M. and MAI, Civil No. 12-
00468-DKW, proceeded to trial in federal court. The trial included several
counterclaims MAI alleged against L.J.M., including breach of loyalty,
intentional interference with prospective business advantage, conversion, and
fraud. On July 25, 2014, the jury returned its verdict, finding no liability on any
claim or counterclaim with the exception of MAI’s claim against L.J.M. for
breach of loyalty. For that claim, the jury awarded MAI one dollar ($1.00) in
nominal damages.

15. On or about December 1, 2014, after KANESHIRO reassigned the
matter from the senior-ranking prosecutor referenced in paragraph 13 to a

recently hired prosecutor, the DPA filed a felony information against L.J.M. in
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the First Circuit Court for the State of Hawaii, alleging four counts of second-
degree theft under Hawaii law.

16. In or about December 2014, L.J.M was arraigned on the felony
information, and conditions of release were set pending trial, including travel
restrictions and a $20,000 cash bond.

17. Onor about September 15, 2017, over the objection of the DPA, Judge
Karen T. Nakasone of the First Circuit Court for the State of Hawaii entered a
written order dismissing the felony information against L.J.M. with prejudice,
finding a lack of probable cause for the charges against L.J.M. and significant
irregularities in the DPA’s investigation and prosecution of L.J.M. These findings
included the “one-sided nature of the investigation,” and that the DPA “was little
more than acting as the recipient of, and conduit for, MAI’s submissions.”

18. On or about October 15, 2017, following internal discussions at the
DPA pertaining to appealing Judge Nakasone’s order of dismissal, the time
period for filing a notice of appeal of Judge Nakasone’s order lapsed, and further
prosecution of L.J.M. was not attempted by the DPA.

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COUNT 1

Conspiracy - 18 U.S.C. § 371

19. The grand jury realleges and incorporates by reference Introductory
Allegations 1 through 18 of this Indictment.

20. Beginning in or around October 2012, and continuing through in or
around October 2017, within the District of Hawaii and elsewhere, defendants
KEITH MITSUYOSHI KANESHIRO, DENNIS KUNIYUKI MITSUNAGA,
TERRI ANN OTANI, AARON SHUNICHI FUJI, and CHAD MICHAEL
MCDONALD did knowingly and intentionally conspire and agree with each
other, and with others known and unknown to the Grand Jury, to commit the
following offenses against the United States:

(1) Honest Services Wire Fraud, that is, having devised and intended
to devise a material scheme and artifice to defraud the City and County of
Honolulu, Hawaii, and its citizens of their right to the honest services of
KANESHIRO through a quid pro quo bribery, to transmit and cause to be
transmitted in interstate commerce by means of wire communications, certain
writings, signs, signals and sounds for the purpose of executing and in furtherance
of such scheme and artifice, in violation of Title 18, United States Code, Sections

1343 and 1346;
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(2) Federal Program Bribery, that is, corruptly giving, offering, and
agreeing to give things of value to any person, with intent to influence and reward
KANESHIRO, an agent and employee of the City and County of Honolulu and
agency thereof, in connection with any business, transaction, or series of
transactions of the City and County of Honolulu involving anything of value of
$5,000 or more, during years that the City and County of Honolulu received
benefits in excess of $10,000 under a Federal program involving a grant, contract,
subsidy, loan, guarantee, insurance and other form of Federal assistance, in
violation of Title 18, United States Code, Section 666(a)(2); and

(3) Federal Program Bribery, that is, KANESHIRO, an agent and
employee of the City and County of Honolulu and agency thereof, corruptly
solicited, demanded, accepted, and agreed to accept things of value from any
person, intending to be influenced and rewarded in connection with any business,
transaction, or series of transactions of the City and County of Honolulu
involving anything of value of $5,000 or more, during years that the City and
County of Honolulu received benefits in excess of $10,000 under a Federal
program involving a grant, contract, subsidy, loan, guarantee, insurance and other
form of Federal assistance, in violation of Title 18, United States Code, Section

666(a)(1)(B).
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MANNER AND MEANS OF THE CONSPIRACY

21. In furtherance of this conspiracy, the defendants and others utilized
the following methods and means, among others:

(1) To facilitate access to KANESHIRO and the DPA and persuade
KANESHIRO to open an investigation into and prosecute former MAI employee
L.J.M., MITSUNAGA, OTANI, FUJII and MCDONALD, CC-1, and others,
would make campaign contributions towards defendant KANESHIRO’s re-
election campaigns.

(2) In order to overcome campaign contribution limits and increase
the amount of money funneled to KANESHIRO’s re-election campaigns, the
conspirators would solicit contributions for KANESHIRO from family members
and other MAT business partners, employees, and subcontractors.

(3) In exchange for the campaign contributions given to him by
MITSUNAGA, OTANI, FUJII, MCDONALD, CC-1, and others, KANESHIRO
would agree to take official action and exercise his authority as the Prosecuting
Attorney for the City and County of Honolulu to open an investigation into and
prosecute former MAI employee L.J.M. The prosecution of L.J.M. continued
until her case was dismissed with prejudice in a written order by Judge Karen T.
Nakasone on September 15, 2017, and the time to appeal lapsed on or about

October 15, 2017.
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OVERT ACTS

22. In furtherance of the conspiracy, the conspirators committed the
following overt acts, among others, within the District of Hawaii and elsewhere:
(1) On or about September 28, 2012, KANESHIRO’s Executive
Assistant (“EA-1”) sent an email to OTANI stating in part that “Keith is happy
to meet with him [Mitsunaga]. Please give me a call so that I can get a little more
information.”

(2)  Onor about October 1, 2012, OTANI sent an email reply to EA-
1 which identified L.J.M. and listed the police report number of a report MAT,
through FUJII, filed against L.J.M. in or around July 2012, as referenced in
Introductory Allegation 9.

(3) On or about October 4, 2012, MITSUNAGA and CC-1 met with
KANESHIRO and EA-1 for the purpose of attempting to persuade KANESHIRO
to investigate and prosecute former MAI employee L.J.M.

(4) On or about October 18, 2012, CC-1 sent EA-1 an email which
stated in part, “I am currently working on assembling all of the information
requested by Mr. Kaneshiro at our meeting, including but not limited to, the
evidence in support of the complaint filed with the police regarding [L.J.M.]...”

(5) On or about October 25, 2012, MITSUNAGA contributed

$4,000 to KANESHIRO’s re-election campaign; MITSUNAGA’s spouse,

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C.O.M., contributed $4,000 to KANESHIRO’s re-election campaign; a business
partner of MITSUNAGA’s, G.O., contributed $4,000 to KANESHIRO’s re-
election campaign; FUJII contributed $1,000 to KANESHIRO’s re-election
campaign; and CC-1 contributed $250.00 to KANESHIRO’s re-election
campaign.

(6) On or about October 29, 2012, EA-1 sent an email to OTANI
stating in part, “Keith would like to speak to Dennis...how can we arrange this?”

(7) On or about October 29, 2012, at approximately 11:08 a.m.,
OTANI sent an email reply to EA-1 providing MITSUNAGA’s cellular phone
number and stating in part, “Keith can call Dennis’ cell.”

(8) On or about October 29, 2012, at approximately 12:49 p.m.,
KANESHIRO called MITSUNAGA’s cellular phone; the phone call lasted
approximately one minute and eight seconds.

(9) Onor about January 22, 2013, CC-1 provided a letter to the DPA,
titled, “[L.J.M.] Criminal Charges.”

(10) On or about January 24, 2013, MITSUNAGA, CC-l,
KANESHIRO, and EA-1 met for lunch to further discuss the investigation and
prosecution of former MAI employee L.J.M.

(11) On or about January 28, 2013, CC-1 sent EA-1 an email stating

in part, “We are so glad that you and Mr. Kaneshiro could join us for lunch,
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especially given your hectic schedules. I completely agree...it is amazing how
Mr. Kaneshiro and Mr. Mitsunaga are so much alike. They are both incredible
individuals with so many accomplishments and are such an inspiration to those
around them. I am glad we had the opportunity to get together and have such an
enjoyable lunch. We had a wonderful time and are looking forward to our next
get together. Thank you again!!”

(12) On or about January 28, 2013, MITSUNAGA contributed $4,000
to KANESHIRO’s re-election campaign; MITSUNAGA’s spouse, C.O.M.,
contributed $4,000 to KANESHIRO’s re-election campaign; and OTANI
contributed $2,000 to KANESHIRO’s re-election campaign.

(13) On or about February 20, 2013, CC-1 sent EA-1 an email stating
in part, “I will be meeting with [HPD personnel] tomorrow morning. I will get
the supplemental report to you and Mr. Kaneshiro by Wednesday, February 27,
2013.”

(14) On or about February 27, 2013, CC-1 provided another letter to
the DPA, titled, “[L.J.M.] Criminal Charges.”

(15) On or about April 3, 2013, OTANI, FUJH, MCDONALD, MAT
employee A.K., and MITSUNAGA’s daughter L.M., each contributed $1,000 to

KANESHIRO’s re-election campaign.

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(16) On or about November 25, 2013, CC-1 sent an email to EA-1
requesting a meeting the next morning. After several e-mail exchanges, they
agree to a meeting at 8:45 a.m. on November 26, 2013.

(17) On or about November 26, 2013, MITSUNAGA,
MITSUNAGA’s spouse C.O.M., MITSUNAGA’s daughter L.M., OTANI, MAT
employees G.N., S.W., and A.K., and MAI subcontractor $8.K.H and his spouse
contributed a total of $9,000 towards KANESHIRO’s re-election campaign.

(18) On or about January 9, 2014, OTANI sent an email to EA-1
stating in part, “Dennis Mitsunaga (along with [CC-1]) would like to set up an
appointment to see Mr. Kaneshiro. Schedule-wise, maybe after the 27th of
January would be less hectic for Dennis and [CC-1] and hopefully, Mr.
Kaneshiro, too.”

(19) On or about March 11, 2014, at approximately 9:10AM, CC-1
sent an email to L.J.M.’s civil attorney stating in part, “Also, I again ask why you
do not go directly to the Prosecutor’s Office if you believe that information
regarding their ongoing prosecution of [L.J.M.] should be disclosed to you? It is
obvious that you are seeking to improperly use the discovery process in the civil
case to seek information regarding the criminal investigation of your client.”

(20) On or about March 11, 2014, at approximately 9:38AM, CC-1

sent an email to EA-1 stating in part, “[b]ased upon our conversation yesterday,

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it is my understanding that the Prosecutor's Office will not hand out any
information regarding any type of ongoing investigation for confidentiality
purposes. Likewise, it is inappropriate for the Complainant to hand out any
information regarding same for confidentiality purposes. Please advise if this in
fact true and correct.”

(21) On or about March 11, 2014, KANESHIRO called CC-1 on his
cellular phone.

(22) On or about June 2, 2014, KANESHIRO called CC-1 on his
cellular phone.

(23) On or about June 4, 2014, CC-1 sent an email to EA-1 attaching
information pertaining to LJ.M. for KANESHIRO to review.

(24) On or about June 16, 2014, CC-1 sent an email to EA-1 attaching
a series of deposition transcripts from a civil lawsuit involving L.J.M and MAI.
The email stated in part, “[p]lease let us know which depositions Mr. Kaneshiro
would like to view in hard copy and we will print it and deliver it to your office.”

(25) On or about June 23, 2014, CC-1 sent an email to EA-1, carbon
copying OTANI, attaching a collection of deposition transcripts from the civil
lawsuit involving L.J.M. and MAI.

(26) In or about the summer of 2014, after a senior Deputy

Prosecuting Attorney recommended declining the L.J.M. case, KANESHIRO

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reassigned the case to recently hired Deputy Prosecuting Attorney, J.D, who was
then assigned to the Career Criminal Unit of the DPA.

(27) On or about August 7, 2014, OTANI emailed a complaint to the
Tax Division of the Hawaii Attorney General’s Office, alleging that L.J.M. had
committed tax fraud.

(28) On or about August 28, 2014, CC-1 sent an email to J.D.
regarding the L.J.M. matter, which included transcripts from the federal civil
lawsuit between L.J.M. and MAI.

(29) Onor about September 19, 2014, CC-1 sent an email to J.D., with
the subject line, “[L.J.M.],” and stating in part, “I am writing to inquire if you
received my e-mails and if you still would like to set up an in-person meeting.
Please let me know at your earliest convenience.”

(30) On or about September 22, 2014, CC-1 sent an email to J.D.
which stated in part, “I am available tomorrow on September 23, 2014 at 2:00
p.m. I am also going to bring Terri Otani, a representative from Mitsunaga &
Associates, Inc.”

(31) On or about October 3, 2014, CC-1 sent an email to J.D. which
stated in part, “I will be sending all the information we discussed over the next

couple of days.”

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(32) On or about October 23, 2014, CC-1 sent an email to J.D. which
stated in part that L.J.M. “performed a project for [R.A’s] residence,” and that
“not only did [L.J.M.] bill her time to MAI, but she also collected approximately
$2,800 in cash from [R.A.] for herself.’ The email further stated that “[t]he
money should have gone directly to MAI (not [L.J.M.]) and this is yet another
example of how [L.J.M.] stole from the company.”

(33) On or about October 28, 2014, OTANI signed a declaration
under penalty of perjury, which was later submitted to the Hawaii Circuit Court
in support of the criminal charges against L.J.M., which contained material
omissions of fact.

(34) On or about October 28, 2014, CC-1 sent an email to J.D. which
included as an attachment the “Declaration of Terri Ann Otani.”

(35) On or about October 31, 2014, MCDONALD signed a
declaration under penalty of perjury, which was later submitted to the Hawaii
Circuit Court in support of the criminal charges against L.J.M., which contained
material misstatements and omissions.

(36) Onor about November 3, 2014, CC-1 sent an email to J.D. which
stated in part, “[p]lease find attached the Declaration of Chad McDonald and

Exhibits “1” — “8”. I have 34 Exhibits so will be sending you additional e-mails

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with the remaining Exhibits.” Thereafter on or about November 3, 2014, CC-1
sent a series of emails to J.D. containing various Exhibits pertaining to L.J.M.

(37) On or about November 3, 2014, J.D. sent an email to CC-1 which
stated in part, “Can I get a declaration from you that states the date of discovery
for each offense?” In an email response that same date, CC-1 states in part, “What
if we just revised Chad’s Declaration to reflect the dates of discovery?”

(38) In or around early November 2014, acting on behalf of
KANESHIRO, J.D. attempted to file a felony information against L.J.M. in
Hawaii District Court. A judge of the Hawaii District Court rejected the filing
because there was no law enforcement affidavit accompanying the felony
information.

(39) In or around early-to-mid November 2014, KANESHIRO
assigned DPA Investigator Vernon Branco to sign an affidavit to support the
felony information against L.J.M.

(40) On or about November 26, 2014, J.D. sent an email to CC-1
which attached the “DECLARATION OF VERNON BRANCO,” and stated in
full, “FYI.”

(41) On or about December 1, 2014, acting on behalf of
KANESHIRO, J.D. filed a felony information against L.J.M., charging L.J.M.

with four counts of second-degree theft under State of Hawaii law.

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(42) On or about October 22, 2015, OTANI, FUJIL, FUJIDP’s spouse
J.F., MCDONALD, MCDONALD’s spouse M.M., and MITSUNAGA’s
daughter L.M., contributed a total of $6,000 to KANESHIRO’s re-election
campaign.

(43) On or about October 22, 2015, at the request of co-conspirators,
MAI subcontractors S.H. and G.Y. contributed a total of $5,000 to
KANESHIRO’s re-election campaign.

(44) On or about October 22, 2015, OTANI contributed $1,000 to
KANESHIRO’s re-election campaign in the name of her relative, J-H., knowing
J.H. was not the contributor and not the true owner of the funds contributed in
J.H.’s name.

(45) On or about January 19, 2016, CC-1 sent multiple emails to EA-
1, with the subject line “Meeting with Mr. Kaneshiro.” One of the emails stated,
in part, “I heard the New Year’s get together was amazing and I was so
disappointed my husband and I were unable to make it!! I know Mr. Mitsunaga
and Terri Otani were both so happy that you and Mr. Kaneshiro were both able
to attend and really enjoyed seeing you. I am so sorry, but I was wondering if
Mr. Kaneshiro has any other availability. I have Court tomorrow at 2:00 p.m.

and did not want to have to cut the meeting short. I am available anytime

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tomorrow morning or after my hearing in Court. I am also available all day on
Thursday. Please let me know what works for Mr. Kaneshiro.”

(46) On or about October 19, 2016, OTANI contributed a total of
$1,000 to KANESHIRO’s re-election campaign in the names of her relatives,
J.A., R.A., and J.H., knowing they were not the contributors and not the true
owners of the funds contributed in their names.

(47) On or about June 13, 2017, acting on behalf of KANESHIRO,
Deputy Prosecuting Attorney C.S. filed a response in opposition to L.J.M.’s
motion to dismiss the felony information charged against her.

(48) On or about July 24, 2017, acting on behalf of KANESHIRO,
C.S. appeared on behalf of the State of Hawaii and argued against dismissal of
the felony information filed against L.J.M.

(49) Onor about July 24, 2017, after Judge Karen T. Nakasone of the
First Circuit Court for the State of Hawaii orally dismissed the felony information
against L.J.M., KANESHIRO advised C.S. that KANESHIRO wanted to appeal
Judge Nakasone’s decision.

(50) On or about September 25, 2017, following a written order
dismissing the felony information against L.J.M., C.S., acting on behalf of
KANESHIRO, drafted an interoffice memorandum recommending that the DPA

appeal Judge Nakasone’s order dismissing the case against L.J.M.

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(S51) Onor about October 15, 2017, the time period for filing an appeal
of the dismissal order lapsed.
All in violation of Title 18, United States Code, Section 371.
COUNT 2

Conspiracy Against Rights - 18 U.S.C. § 241

23. The grand jury realleges and incorporates by reference Paragraphs |
through 18 and 22(1)-(51) of this Indictment, herein.

24. Beginning in or around October 2012, and continuing through in or
around October 2017, within the District of Hawaii and elsewhere, defendants
KEITH MITSUYOSHI KANESHIRO, DENNIS KUNIYUKI MITSUNAGA,
TERRI ANN OTANI, AARON SHUNICHI FUJII, and CHAD MICHAEL
MCDONALD, did knowingly and intentionally conspire and agree with each other,
and with others known and unknown to the grand jury, to injure, oppress, threaten,
and intimidate L.J.M., who was at that time present in the State of Hawaii,

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in the free exercise and enjoyment of rights secured to her by the Constitution and
laws of the United States, and because of her having so exercised the same, namely,
the right under the Fourth and Fourteenth Amendment to be free from unreasonable
seizures by one acting under color of law, and the right to file a lawsuit in federal
court alleging claims under Title VII of the Civil Rights Act and the Age
Discrimination in Employment Act, in violation of Title 18, United States Code,

Section 241.

Dated: June 2, 2022, at Honolulu, Hawaii.

A TRUE BILL
/s/ Foreperson
FOREPERSON, GRAND JURY

MERRICK B. GARLAND
Attorney General

RANDY S. GROSSMAN
United States Attorney

CHAEL G. WHEAT, CBN 118598
JOSEPH J.M. ORABONA, CBN 223317
JANAKI GANDHI CHOPRA, CBN 272246
COLIN M. MCDONALD, CBN 286561
ANDREW Y. CHIANG, NYBN 4765012
Special Attorneys to the Attorney General

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